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9                            UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11

12   RONALD PINEDA                         Case No.: 2:18-cv-03395-SVW-RAO
13                                         The Honorable Stephen V. Wilson
               Plaintiff,
14       v.
                                           ORDER RE DISMISSAL WITH
15                                         PREJUDICE
     ABBOTT LABORATORIES, INC. a
16   corporation, DBA ABBOTT SALES,
17   MARKETING DISTRIBUTION CO
     and ABBOTT NUTRITION; ABBOTT
18   LABORATORIES, a corporation;
19   ALEX MAZZENGA, and DOES 1 to
     100, inclusive.
20      Defendants.
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                                     [PROPOSED] ORDER
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1                                             ORDER
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3         Pursuant to Federal Rule of Civil Procedure 41(a), plaintiff, Ronald Pineda, by and
4    through his counsel of record, hereby requests dismissal of this action with prejudice.
5    Defendants, Abbott Laboratories, Inc. a corporation, Dba Abbott Sales, Marketing
6    Distribution Co and Abbott Nutrition; Abbott Laboratories, a corporation; and Alex
7    Mazzenga, by and through its counsel of record, hereby stipulate to Plaintiff’s request.
8    Each of the undersigned parties agrees that it shall bear its own costs and attorneys’ fees.
9         IT IS SO ORDERED.
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11   Dated: January 8, 2022
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13
                                            The Honorable Stephen V. Wilson.
14                                          United States District Court Judge
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                                          [PROPOSED] ORDER
